Case 8:19-bk-03732-MGW Doc/7-2 Filed 05/10/19 Page 1 of 19

INSTRUMENT#: 2009296789, BK: 19453 PG: 952 PGS: 952 - 970 09/08/2009 at
. 01:13:36 PM, DOC. TAX PD(F.S.201.08) $325.15 INT.TAX PD (F.8.199) © $185.80
DEPUTY CLERK:GTHOMPSON Pat Frank,Clerk of the Circuit Court Hillaborough County

SUNCOAST OLS FEDERAL

   
  

* HILLSBOROUGH AVE.

BERS ALE AGENCY, LLC
E. HILLSBOROUGH AVE.

TAMP.
dodument Sas ict fare yO :

MELISSA PANESSO
6801 E. HILLSBOROUGH AVE.
TAMPA, FL 33610

—— - (Space Above This Line For Recarding Data).
MORTGAGE .

This docament is exempt from yee of intangible recording tax by regulation of the Department of Rerest
12C-2.003(3).

The anms herein secured are to be disbursed in seonitants with the terms of a Construction Loan Agreement of-even
< berewith, which le hereby incorporated by reference and made « part of this instrument. A breach or default in
8 performance of any provision or obligation contalued in sald Construction Loan Aj pereonent shall constitute a
defautt and breach of HA instrument and Note secured hereby, and, at the option of the bolder, the Note secured.
pare shall, notwithstauding anything in the Note or elzewhere herelo,to the contrary, be due and payable
mediately, "This is a First Mortgage. Renee stamps affixed hereto and cancelled.

DEFINTHIONS

Words. used in multiple sections of this document are defined below and other words are defined in

Sections 3, H, 13, 18, 20 and 21. Certain rules regarding the usage of morta used in this document are
also provinces in Section 16.

(A) "Security Instrument" means this document, which is dated September 04, 2009

together with all Riders to this document.

(8) "Borrower" is Betzaida A Lugo-Serrano, a married woman Joined by her spouse,
ARTURO SANDOVAL-AGUTLAR' a/k/a ARTURO AGUILAR-SANDOVAL

ene erg rt

HOMESTEALT nor LS

Borrower is the mortgagor under this Security Instrument.
(C) “Sander” is BUNCOAST SCHOOLS FEDERAL CREDIT UNION

Lender ina Credit Union
= and sein under ase laws of UNITED STATES OF AMERICA

FLORIDA-Single Family-Fannie Map/Freddie Mac UNIFORM INSTRUMENT Form 3010 1/04

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Case 8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 Page 2 of 19

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Bk 19453 Pg 953

o ‘
Lender's address is 6801 EB. HILLSBOROUGH AVE., TAMPA, FL 33610

Lender is the mortgagee under this Security Instrument. .
(D) "Note" means the promissory note signed by Borrower and dated September 04, 2009
The Note'states that Borrower owes Lender NINETY TWO THOUSAND NINE HUNDRED AND _
00/100 © : oe ‘ Dollars . ©
(U.S. $92,900.00 , ) plus interest, Borrower has promised to pay this debt in reguler Periodic
‘Payments and to-pay the debt in full not later than October 1, 2040
(E) "Property" means the Property that is described below under the mean “Transfer of Rights in the
Property.”

* (F) "Loan! means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note, and.all sums due under this Security Instrument, plus interest.
(G) "Riders" means all Riders to this Security Instrument that are executed by Borrower, The follawing
Riders are to-be executed by Borrower [check box as applicable]:

(_) Adjustable Rate Rider [_] Condominium Rider Second Home Rider
Balloon Rider Lx] Planned Unit Development Rider [__] 1-4-Family Rider .
VA Rider -. (_] Biweekly Payment Rider Other(s) [specify]

(H) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations,’

ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final, -

non-appealable judicial opinions.

(I) “Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other

charges that:are imposed on Borrower or the Property by a condominium association, ‘homeowners

association or similar organization.

(J) “Electronic Funds Transfer" means any transfer of funds, other than a transaction originated ‘by
2 check, draft, or similar paper instrument, which is initiated through an clectronic terminal, telephonic

‘ihstrument, computer, or magnetic tape so as to order, instruct, or authorize a. financial institution to debit

or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller

machine transactions, ge initiated by telephone, wire transfers, and automated clearinghouse

transfers. ,

* (K) "Escrow Items" means dona items that are described in Section:3. :

(L) "Miscéllaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid

by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)

damage to, or destruction: of, the Property; (ii) condemnation or other taking of all or any part of the

Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the

value and/or condition of the Property.

(M) "Mortgage Insurance" means insurance protecting Lender against the nofpayment of, or default on,

the Loan.

(N) "Periodic Payment” means the regularly scheduled amount due for (i) principal and fenereat ise the

Note, plus (ii) any amounts under Section.3 of this Security Instrument.

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Case 8:19-bk-03732-MGW Doc 7-2. Filed 05/10/19 Page 3 of 19

Bk 19453 Pg 954

(O) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and ‘its
implementing regulation, Regulation, X (24 C.F.R. Part 3500), as they might be amended from time to
timo, or any additional or successor legislation*or regulation that governs the same subject mattér. As used
i in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard
to a "federally related mortgage Joan" even if the Loan does not qualify as a "federally related mortgage
loan".under RESPA.
(P) “Successor In Interest of Borrower" means any party that has taken title: to the Property, whether or.
not that party has assumed Borrower's obligations.under the Note and/or this Security Instrument.  - ;

TRANSFER OF RIGHTS IN THE PROPERTY
This Security Instrument secures to Lender: (i) the repayment of the Loan, and all retlewals, extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements urider this
Security Instrument and the Note. For this purpose, Borrower docs hereby mortgage, grant and convey to
Lender, the following described property located in the County” e . [Type of Recording Jurisdiction)
of HILLSBOROUGH [Name of Recording Jurisdiction):
LOT 15, BLOCK 7, HIDDEN CRREK AT WEST LAKE, ACCORDING TO THE MAP OR PLAT
THEREOF, AS RECORDED IN PLAT BOOK 115, PAGES 227 THROUGH 232, OF THE
PUBLIC RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

Parce! ID Number: U-32-31-20-9HI-000007-00015 0 . which currently has the ‘addreai of

15416 FLORIDA BREEZE LOOP - * [Street)
. WIMAUMA , ; “[City), Florida 33598 [Zip Code)
teat oy ("Property Address"): _ :

TOGETHER WITH all the ‘improvements now or hereafter erected on the pfoperty, and all
easements, sppurtenantes, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the "Property."

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Case 8:19-bk-03732-MGW _ Doc 7-2 Filed 05/10/19 Page 4 of 19

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Bk 19453 Pg 955

_ BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right to mortgage, grant ‘and convey the Property and that ‘the Property is unencumbered, except for
encumbrances of tecord, Borrower warrants and. will defend generally the title to the Property against all
claims and demands, subject to any encumbrances of record.

THIS.SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real

» Property. . :

UNIFORM COVENANTS. Borrower and Lender covenant and agrec as follows:

1, Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any-
prepayment charges and late.charges due under the Note. Borrower shall also pay “funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.

_ Currency. However, if any check or other instrument received by Lender es payment under the Note or this
Security. Instrument. is returned to Lender unpaid, Lender. may require that any or all subsequent payments -
due under the Note and this Security Instrument be made in one or more of the, following forms, as
selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer,

: Payments arc deemed received by Lender when received at the location designated in the Note or at ~
such other location.as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current. Lendet may accept any payment or partial payment insufficient to bring the Loan:
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments arc
accepted. If each Periodic Payment is applied as of its scheduled duc date, then Lender need not pay
interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring

. the Loan current, If Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied carlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to: foreclosure. No offset or. claim which Borrower
might have now or in the future against Lender shall relieve Borrower, from making payments due under
the Note and this Security Instrument or performing the covenants and agreements secured by this Security
Indtrument, Es

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments

__ shall be applied to cach Periodic Payment in the order in which it became dué,-Any remaining amounts

” shall be applied first to late charges, second to any other amounts due ‘under this Security Instrument, and
then to reduce-the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay: any late charge due, the payment may be applied to the delinquent payment and
the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received
from Borrower to the repayment of the Periodic Payments if, and to the extent, that, cach payment

FLORIDA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT :

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Case 8:19-bk-03732-MGW Doc7-2 Filed 05/10/19 Page 5 of 19

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can be paid in full. To the extent that any excess exists after the payment is applied to the full payment of
one or more Periodic Payments, such exceas may be applied to any late charges duc. Voluntary
Prepayments shall be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender Gn the day ‘Periodic Payments are duo
under the Note, until the Note ia paid in full, a sum (the "Funds") to provide for payment of amounts due ©
for: (a) taxes and asseasments and other items which can attain priority over this Security Instrument as a
len or encumbrance on the Property; (b) l¢aschold payments or ground rents on the Property, if any; (c)
premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payablo by Borrower to Lendet in lieu of the payment of Mortgage

_Insirance premiums in accordance with the provisions of Section 10. These items ore called "Escrow
Items." At origination or af any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Asscssments, if any, be escrowed by Borrower, ‘and such dues, fees and.
assessments shall be an Escrow Item. Borrower shall pramptly furnish to Lender all notices of amounts to
be paid under this Section: Borrower shall pay Lender the Funds for Escrow Items unless Lender waives
Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any time, Any such waiver may only be

”, in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower's obligation to make such payments and’to provide receipts shall for all purposes be deomed to
be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and agreement"
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to » waiver, and —
Borrower fails to pay the amount due for an Eacrow Item, Lender may exercise ite rights under Section“9
—— _ahd pay such amount and Borrower shall then be obligated under Sectioti 9 to repay to‘Lender any such
. amount, Lender may revoke the waiver as to any or all Escrow-Items at any. time by a notice given in
accordance with Section 15 and, upon such revocation, Borrower shall Pay to Lender all Funds, and in
such amounts, that are then required under this Section 3.
1 . ~ Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
- the Funds at the time specified under, RESPA, and (b) not to exceed the maximum amount a lerider can
_ fequire under RESPA. Lender shall estimate the amount of Funds duo dn the basis of current data and

_ reasonable estimates of expenditures of future Escrow Items or otherwise i in accordance with Applicable
Law.

The Funds shall be held in an institution whose deposits aro insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits arc‘so insured) or in
any Federal Home Loan Bank. Lender.ahall apply the Funds to pay the Escrow Itéms no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow Items, unless Lender péys.Borrower interest on the
Funds and Applicable-Law permits Lender to make such a charge. Unloss an agreement is made in writing
or Applicable Law requires interest to be paid onthe Funds, Lender shall not be required to pay Borrower
any interest of earnings on the Funds. Borrower and Lender can agree in writing, ‘however, that interest

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Case 8:19-bk-03732-MGW Doc/7-2 Filed 05/10/19 Page 6 of 19

Bk 19453 Pg 957

shall be paid on the Funds, Lendes shall give to Barret: without charge, an annual econuming of the
Funds as required by RESPA. 7

If there is a surplus of Funds held in escrow, as dofined ‘under, RESPA, “Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is « ahortage of Funda held in escrow,
as defined under RESPA; Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12

A monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shal) promptly refiarid
to Borrower any Funds held by Lendef.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leaschold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assesaments, if any.,To
the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this: ‘Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the licen in a manner acceptable
4o Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in, good faith
by, or defends ‘against enforcement of the lien in, legal proceedings which in Lender's opinion operate to
prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are concluded; ‘or (¢) secures from the holder of the lien an agreement satisfactory to Lender subordinating ,

» the lien to this Security Instrument. If Lender determines that any part of the Property is subject to alien
which can attain priority over this Security Instrument, Lender may give Borrower a nolice identifying the
lien. Within, 10 days of the date on which that notice is given, | Borrower shall satisfy ‘the lien or take one or
more of the actions set forth above in this Section 4.

. Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
«reporting service used by Lender in connection with this Loan.

3. Property Insurance. Borrower shall-keep the improvements now existing or thecctiher erected on
the Property insured against loss by fire, hazards included within the term "extinded coverage,” and any
‘other hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance.
This insurance, shal] be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender-requires pursuant to the preceding sentences can change during the term, of
the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may
require Borrower: to pay, in connection with this Loan, cither: °(a) a one-time charge for flood zone
determination, certification and. tracking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges cach time remappings or similar changes occur which
reasonably might affect such determination or certification. Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection, with the

review of any flood zone determination resulting from an objection by sl

FLORIDA-Singio Family-Fannte Mae/Freddie Mac UNIFORM INBTRUMENT

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Case 8:19-bk-03732-MGW Doc7-2. Filed 05/10/19 Page 7 of 19

Bk 19453 Pg 958

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If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any.-
partictilar type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower's equity in the Propérty, or. the contents of the Property, against any risk,
hazard or liability and might provide greater or leaser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the ‘cost of
inaurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall
become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest
at the Note rate from the date of disbursement and shallbe payable, with such interest, upon notice from
Lender to Borrower requesting payment.

All insurance policies required by Lender and ¢ is of such polici shall be subject to Levies!
right to digapprove such policies, shall include a atandard morigage chen and shall name Lender as
thortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and renewal
certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal noticea. If Borrower obtains any form of insurance coverage, not otherwise required by Lender,
for damage to, of destruction of, the Property, such policy shall include a standard moras clause and

. shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall ‘give promp! notice to the insurance carrier and Lender. - Lender
may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened. During such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property ‘to ensure the
work has been completed to Lender's satisfaction, provided that such inspection shall be undertaken

«promptly, Lender may disburse procéeds for the repairs and restoration in a single payment or in a scries
of progress payments as the work is completed. Uniess an agreement is made in writing or Applicable Law
requires interest to be paid on such ingurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If .
the reatoration or.repair is not economically feasible‘or Lender's security would be lessened, the insurarice

m , ‘proceeds shall be applied to the sums tecured.by this Security Instrument, whether or not then due, with
the excess, if any; paid to Borrower. Such insurance proceeds ii be applied in the order provided for in
Section 2.

If Borrower abandong the Property, Lender may filo, negotiate and settle ‘any available insurance
claim and related matters. If Borrower does not respond within 30 days to. a notice from Lender that the
insurance carrier has offered to settlo. a claim, then Lender may negotiate and settle the claim. The 30-day
period wil! begin when the notice is given. In cither event, or if Lender acquires the Property under
Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to arly insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower's righw (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar.as such rights are applicable to the
coverage of the Property. Lender may use the insurance proceeds cithér to repair or restore the Property or
“to pay, amounts eapais under the Note or this Security argent, whether or not then due.

FLORIDA-Single Femlly-Fannie Mason Mac UNIFORM (NSTRUMENT

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Case 8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 Page 8 of 19

Bk 19453 Pg 959

6. Occupancy. Borrower shall occupy, cstablish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Security Instrument and shall coniinuc to occupy the
Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender ,
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless Serenine

circumstances exiat which are beyond Borrower's control,

7. Preservation, Malntenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or’ commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in

E order to prevent the Property from deteriorating or decreasing in valie due to its condition. ‘Unless it is
. determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if. damaged to avoid further deterioration or damage. If insurance or
. condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower’.

shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in‘a series of

progress’ payments as the work is completed. If the insurance or condemnation proceeds are not sufficient

to repair or restore the Property, Borower is not relieved of Borrower's obligation for the completion of

such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. ‘If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

i 8. Borrower's Loan Application, Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially falsc, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with. material information) in connection with the Loan. Material

' representations include, but are not limited to, representations concerning Borrower's occupancy of the
Property as Borrower's principal residence.

9. Protection of Lender's Interest In the Property and Rights Under this Security Instrument. if
(4) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under
thia Security Instrument (such as a proceéding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or

- regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the. Property and righté under this Security .
Instrument, including protecting and/or assessing the valué of the Property, and securing and/or repairing
‘the Property. Lender's actions can include, but are not limited to: (a) paying any aums secured by a licn
which has priority over this Security Instrument; (b) appearing in court; and (c) payihg reasonable
attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including
its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,
entering the Property to make repaira, change locks, replace Or board up doors and windows, drain water
from pipes, eliminate building or other code Violations or dangerous conditions, and have utilitica turned
on or off. Although Lender may take action under this Section 9, Lender does not have todo so and isnot —~
under any duty or obligation to do so. It is agreed that Hades incurs ho liability for not taking any or all -

actions authorized under this Section 9. ,
FLORIDA-Singlea Family-Fannie Mae/Freddle Mac UNIFORM INSTRUMENT

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Case 8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 - Page 9 of 19

Bk 19453 -Pg 960

“ Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear intereat at the Note rate from the date of
disbursement-and shall be payable, with such interest, upon notice from Lender to Borrower requesting .

yment.
ue If this Security Instrument is on a leaschold, Borrower shall mply with all the provisions of the
lease. If Borrower acquires fee title to the Property, the leaschol id and fee title shall not merge unless

Lender agroes to the merger in writing.

10. Mortgage Insurance. ‘If Lender required Morigage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain.the Mortgage Insurance. in effect. If, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall: pay the premiums required to obtain
coverage substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
mortgage insurer sclected by Lender. If substantially equivalent Mortgage Insurance coverage is not
available, Borrower shall contiade’ to. pay to Lender the amount of the separately designated payments that
were due when the insurance coverage ‘ceased to be in effect. Lender will accept, use and retain theac
payments as a non-refundable loss restrve in licu of Mortgage Insurance. Such loss reserve shall be
non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be
required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss
reserve payments if Mortgage Insurance coverage (in the amount and for the period that Lender requires)
provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
separately designated payments toward the premiums for Mortgage Insurance, If Lender required Mortgage
Insurance as a condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
maintain Mortgage Insurance in ‘effect, or to provide & non-refundable loss reserve, until Lender's
requirement for Mortgage Insurance ends in-accordance with any written agrecment between Borrower and
Lender providirig for such termination or until termination is required by Applicable Law, Nothing in vhs :
Section 10 affects Borrower’ s obligation to pay interest at the rate provided in the Note. ©

Mortgage’ | Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it-
may incur if Borrower does not repay the Loan as agreed. Borrower is not a.party to the Mortgage
Insurance. ,

a . Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to

.. these agreements, These agreements may require the mortgage insurer to make payments using any. source
of funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
“ Insurance premiums).

As a result of these agreenicaita, Lender, any purchaser of the Note, another insurer, any reinsurez,
any other entity, or any affiliate of any of tho foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a shate of the

premiims paid to the insurer, the arrangement is often termed “captive.reinsurance." Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
‘Mortgage Insurance, or any other terms of the Loan, Such agreements will not Increase the amount
Borrower will owe for Mortgage Insurance, and they will not entiabe Borrower to any refund.

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FLORIDA -Single Family-Fannie MaeFredde Mac UNIFORM INSTRUMENT * QD»

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Case 8:19-bk-03732-MGW Doc7-2. Filed 05/10/19 Page 10 of 19°

Bk 19453 Pg 961

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the:
Mortgage Insurance under the Homeowners Protection. Act of 1998. or any other law. These rights
may Include the right to receive certaln disclosures, to request and obtain cancellation of the

. Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund of any Mortgage Insurance premiums shat were unearned at the time of such caticellatlon or
termination.

11, Assignment of Miscellaneous Proceeds; Forfelture. All Miscellaneays Proceeds are hereby
assigned to and shall be paid ta Lender.
- If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened.

During such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds
until Lender has had an opportunity to inspect: such Property to ensure the work has been completed to
Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
repaits and restoration in » single disbursement or in a series of progress payments . as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on ‘such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower. any interest or earnings on such
Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would
be lessened, tHe Miscellancous Proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2,
' In the event of a total taking,- destruction, or loss in a of the Property, the Miscellaneous
Proceeds shall be xpplied to the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, pald to Borrower.

In the event of « partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or Idss in value is equal to or
greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security Instrument shall ‘be reduced by the amount. of the Miscellancous Proceeds
multiplied by the following fraction; (a) the total amount of the sums secured immediately before the.
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property

: immediately before the partial taking, destruction, or loss in valuo. An balance shall be pee to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market .
value of the Property immediately before the’ partial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, destructidn, or loss.in value, unless
Borrower and Lender otherwise agree in writing, the Miscelldncous Proceeds shall be applied to the sums
secured by this Secarity Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
Borrower fails to Yespond to Lender within 30 days after the date the notice is given, Lender is authorized
to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
sums secured by this Security Instrument, ‘whether or not-then due. "Opposing Party" means the third party
that owes Borrower Miscellancous- Proceeds or the party against whom Borrower has a right of action in
regard to Miscellaneous Proceeds.

Borrower shall be in dofault if any action or. proceeding, whether civil or criminal, is begun that, in
“Lender's judgment, could result in forfeiture of the Property or other matetial impairment of Lender's
interest in the Property or rights under this Security Ingyument. Borrower can cure such a defgult and, if
acceleration has occurred, reinstate aa provided in on 19, by causing the action or proceeding to be
dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
impairment of Lender's intereat in the Property or rights under this Security in,
FLORIDA -Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT me ns
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Case 8:19-bk-03732-MGW Doc 7-2. Filed 05/10/19 Page 11 of 19

Bk 19453 Pg 962

any award or claim for damages that ure attributable to the impairment of Lender's interest in the Property
are hereby assigned and shall be paid to Lender,

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

. 12, Borrower Not Released; Forbearance By Lender Not a Walver. Extension of the time for
payeoent or modification of amortization of the sums secured by this Security Instrument granted by Lender
or any Successor in Interest of Borrower-shall not operate td release the liability of Borrower
: any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against
any Successor in Interest of-Borrower or to refuse to extend time for payment or ‘otherwise modify
amortization of the sums secured by this Security Instrument by reason of any demand made by the original
Borrower or any Successors it: Interest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, Lender's acceptance of payments from third persons, entities or
* Successora in Interest of Borrower or in amounts less than the amount then duo, shall not be 4 waiver of or
preclude thé exercise of any right or remedy.

13. Joint and. Several Liability; Co-slgners; Successors and Assigns Bound, Borrower covenants
and agrees that Borrower’ s obligations and liability shal) be joint and several, However, any Borrower who
co-signs this Security Instrumerit but doce not execute the Note (a “co-signer"); (a) a co-signing this
Security Instrument only to mortgage, grant and convey the co-slgner's interest in the Property under the
terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrument; and (c) agrees that Lender and any other--Borrower can agree to extend, modify, forbear or .
make any accommodations with regard to the terms of this Security Instrument or the Note without, the
co-signer’ s consent. ‘

ubject to the provisions of Section 18, any Successor in Interest of Borrower who- hssumes
Borrower's obligations under this Security Inatrument in writing, and is approved by Lender, shall obtain
all of Borrower's rights and benofits under this Security Instrument. Borrower shall not be released from
Borrower's obligations ‘and liability under this Security Instrument unless Lender agrees to such release in
writing. The covenants and agrecments of this Security Instrument shall bind (except as provided in
Section'20) and benefit the successors and assigns of Lender. ;

14, Loan Charges. Lender may charge Borrower feca-for services performéd in connection with
Borrower's default, for the purpose of eae Lender's interest inthe Property and rights under. this
Security Instrument, including, but not limited to, attorneys’ fees, property inspection and. valuation fees.
In regard to any other fees, the abacnce of express authority in this Security Instrument to charge a specific
fee to Borrower shall not be construed as a prohibition onthe charging of-such fee, Lender may not charge
feos that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sete maximum loan charges, and that law is finally interpreted so
that the interest-or other loan charges collected or to be collected in co ion with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted pag and (b) any sums already collected from Borrower which exceeded permitted

. limitd will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borcower. If a refund reduces principal, .the
j reduction will be treated as a partial prepayment without any prepayment charge (whether or nol
prepayment charge is provided for under the Note). Borrower's gah tg of any such refund made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
“of such overcharge. =~
15, Notices. All notices given by Borrower or Lender in connection with this ‘Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to -
have been given to Borrower ‘when mailed by first class mail or when actually delivered to Borrower's
notice address if sent by other means, Notice to any one Borrower shall constitute notice to all Borrowers -

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Case 8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 Page 12 of 19

Bk 19453 Pg 963 . 2

unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower's change of address, If Lender specifies a procedure for reporting Borrower's
change of address, then Borrower shall only report o change of address through that specified procedure.
There may be only one designated notice address under this Security Instriment.at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have ‘been given to Lender until actually
received by Lender. If any notice required by this Security Instrument is also required under Applicable
ei the Applicable Law requirement ‘will satisfy the corresponding requirement under this Security
instrument.

16. Governing Law; Severabllity; Rules of Construction. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security Instrument are subject to any foquirements and limitations of
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or- it
might be silent, but-such silence shall not be constried as a prohibition againat agreement by contract. In
the event thal any provision or clause of this Security Instrument or the Note conflicts with Applicable
Law, such conflict shall not affect other: provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision,

Aa used jn this Security Instrument: (a) words of the masculine gender.shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice veraa; and (c) the word “may” gives sole foe without any obligation to
take any action.

17. Borrower's Cons. Borrower shall be given one copy of the Note and of this Security icin.

18. Transfer of the Property or a Beneficial Interest in Borrower. As"used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in-a bond for deed, contract for deed, installment sales contract or
eacrow agreement, the intent of which is the transfer, of title by Borrower ata future date to a purchaser.

If all or any part of the Property or any Interest in the Property i is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior

* written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument. However, this Sption shall not be exercised by Lender if such exercise is prohibited by
* , Applicable Law. ~
If Lender exercises this option, Levides shall give Borrower notice of acceleration. The notice shall
provide a period of not’ leas than 30 days from the date the notice is given in accordance with Section 15°
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails: to pay ©
™ , : these sums prior to the ‘expiration of this period, Lender may invoke any remedies permitted, by this
Security Instrument without further notice or demand on Borrower.
19. ‘Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
=" Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
. » prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security Lustrument. Those
conditions are that Borrower: (a) pays Londer all sums which then would be due under this Security
Instrument and the Note as if no acceleration had occurred; (b) curea any default of any other covenants or
“agreements; (c) pays all incurred in enfdrcing this Security Instrument, including, but not limited
to, resonable aiernye, lees, property inspection and vacation fees, and other fees incurred for the

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Case 8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 Page 13 of 19

Bk 19453 Pg 964

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purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d)
“takes such action as Lender may reasonably require to assure that Lender's interest in the Property and
Tights under this Security Instrument, and Borrower's obligation to pay the. sums secured by this Security
Instrument, shall continue unchanged. “Lender may require that Borrower pay.such reinstatement sums and
expenses in one or more of the following forms, as selected by’Lender: (a) cash; (b) money order; (c)
certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic |
Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured hereby
shall remain fully effective as if no acceleration had occurred. However, a right. to reinstite shall not
apply in the case of acceleration under Section 18. , f

20, Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note ora partial interest in
the Note (together with this Security Instrument) can be sold: one or more, times without prior notice to
Borrower. A sale might result in a change in the entity (known .as the "Loan Servicer") that collects
Periodic Payments duc under the Note and this Security Instrument and performs other mortgage loan _
servicing obligations under the Note, this Security Instrument, and Applicable Law. There: also might be
one or more changes of the Loan Servicer unrelated to a‘sale of the Note. If there i is a change of the Loan
‘Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA
requires in connection with o noticevof transfer of servicing. Lf the Note is sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the morigage,loan servicing obligations
to Borrowgr will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
aasumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may tommence, join, or be joined to any judicial action (as cither an
individua) litigant or the member of a class) that-arises from the other party's actions pursuant to this ©
Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements ‘of Section 15) of such alleged breach and afforded the
other party hereto a reasoriable. period after the giving of such notice to take corrective-action. If
Applicable Law provides a time period which must elapse before certain action ‘can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity’ to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to

. . ‘Borrower pursuant to Section 18 shall be pom to satisfy the notice and opportunity to- ake corrective
. ° action provisions of this Section 20. °
: : 21. Hazardous Substances. As. used. in, this Section 21: (a) "Hazardous bubistencenr’ are those
“substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law: and the
following substances; gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(b) "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes ‘any response
action, remedial action, or removal action, aa defined in Environmental Law; and (d) an “Environmental
+ Condition" means a condition that can cause, contribute to, or otherwite ‘trigger an Environmental

Cleanup.
FLORIDA-Single Familyfannle MaclFreddie Mac UNIFORM INSTRUMENT
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Case'8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 Page 14 of 19

Bk 19453 Pg 965

_ Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
_ Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do,
nor allow anyone elsc to do, anything affecting the Property (a) that isin violation of any Environmental .
’ Law, (b) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
Hazardous Substance,” creates a condition that adversely affects the value of the Property. The preceding
two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).
Borrower shall promptly give Lender written nofice of (a) any.investigation, claim, demand, lawsuit
or other action by any governmental of regulatory agency or private party involving the Property and any
Hazardous Substance or Environmental Law. of which Borrower has actual knowledge, (b) any
Environmental Condition, including but ndt limited to, any spilling, leaking, discharge, release or threat of |
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
. Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
“by any governmental or regulatory aythority, or any private party, that any removal ‘or other remediation
of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create’ any obligation on
Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree ag follows:

‘21. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 18 unless Applicable Law’ provides otherwite).. The notice shall specify:
(a) the default; (b) the actlon required to cure the default; (c) a date, not less than 30 days-from the
date the notice is given to-Borrower, hy which the default must be cured; and (d) that fallure to cure
the default on or before the date specified In the notice may result In acceleration of the sums secured
by this Security Instrument, foreclosure by Judicial proceeding and éale of the Property. The notice
shall further inform Borrower of the right to reinstate after acceleration and the right to assert In the
foreclosure proceeding the non-existence of a default or any:other defense of Borrower to acceleration *
and foreclosure. If the default Is noteured on or before the date specified in the notice, Lender at its

- option may require Immediate payment in full of all sums secured by this Security Instrument
; without further demand and may foreclose thls Security Instrument by judicial proceeding. Lender
shall be entitled to collect all expenses Incurred in purauing the remedies provided in thls Section 22,

including, but not limited to, reasonable attorneys’ fees and costs of title evidence.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this
Security Instrument. Borrower shall pay any recordation-costs. Lender may charge Borrower a fee for .
releasing this Security Instrument, but only if the fee is pgid to a third party. for services rendered and the. .-
charging of the fee is permitted under Applicable Law.

24. Attorneys’ Fees. As used in this Security Instrument and the Note, attorneys’ fees shall Geli
those awarded by an appellate court and any attorneys’ fees incurred in a bankruptcy proceeding.

25, Jury Trial Walver. The Borrower hereby waives any right to a trial by. jury in any action,
proceeding, claim, or counterclaim, whether in contract or tort, at law or in equity, arising out of or in any.
way related to this Security Instrument or the Note.

FLORIDA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT: Ga»

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Case 8:19-bk-03732-MGW Doc7-2_ Filed 05/10/19 _ Page 15 of 19

Bk 19453 Pg 966

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.
Signed, sealed and delivered in the présence of:

 

 

 

 

 

 

> (Seal)
Betzaida A -serran -Borrower
932 NINA SLSEARESH CIRCLE APT
; 201 ‘ % (Address)
ee eee Pa Resale Oil - O0xqui\ayseal)
' Raker ‘| rower
POR :
“ _ARTURO SANDOVAL-AGUILAR BY BETZAIDA A, LUGO _ SERRANO
: : HIS ATTORNEY IN FACT o :
(Address)
*(Seal) (Seal)
Borrower -Horrower
(Address) . : (Address):
(Seal) : eet (Seal)
“Borrower . ' -Borrower
= (Address) ‘ "i . (Address)
(Seal) — (Seal)
-Dorrower > ‘Borrower
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Case 8:19-bk-03732-MGW Doc 7-2. Filed.05/10/19 Page 16 of 19

Bk 19453 Pg 967

STATE OF FLORIDA,  —»-—sHILLSBOROUGH, County as:
The foregoing instrument was acne wledget| before me this o/i/oo by

BETZAIDA A.. LUGO SERRANO, Individually and BETZAIDA A. wo SERRANO, 4S ATTORNEY IN-FACT FOR
ARTURO SANDOVAL-AGUILAR a/k/a ARTURO Aaa: SANDOVAL

      
   

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who is personally known to me or who has produced

 

 

 

 

 

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Case 8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 Page 17 of 19

Bk 19453 Pg 968

 

PLANNED UNIT DEVELOPMENT RIDER

THIS PLANNED UNIT DEVELOPMENT RIDER Is made this 4th- day of
September 2009 and Is Incorporated into and shail be
deerned to. amend and supplement the Mortgage, Deed of Trust, or Security Deed (the
"Securlly ‘Instrument"): of the same date, given by the undersigned (the “Borrower") to
secure Borrow ers Note to SUNCOAST SCHOOLS FEDERAL CREDIT UNION -

(the “Lender") of the same “date and covering the Property described in the Security
instrument and located at: 15416 FLORIDA BREEZE Loor .
WIMAUMA, FL 33598

; (Property Address]
The Property includes, bul is not limited to, @ parcel of land improved with a dwelling,
together with other such parcels and certain common areas and facilities, as described in

: RESTRICTIONS OF PUBLIC RECORDS

(the "Declaration"). The Properly is a part of a planned unit development known. as~

*

HIDDEN CREEK AT WEST LANE
[Name of Planned Unit Development] ,
(the "PUD"). The Property also includes Borrower's interest in the homeowners association or
‘equivalent entity owning or managing the common areas and facilities of the PuD (the
“Owners Association") and the uses, benefits and proceeds of Borrower's Interest.

PUD COVENANTS. In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

A. PUD Obligations. Borrow er shall perform all of Borrower's obligations under the PUD's ,
Constituent Documents. ‘The "Constituent Documents" are.the (i) Declaration; (Il) articles. of
incorporation, trust Instrument or, any equivajent document which creates the Owners
Association; and (ili) any by-laws or other rules -or regulations of the Owners Association.
Borrower shall promptly pay, when due, all dues and assessments Imposed pursuant to the

Conatituent Documents.

MULTISTATE PUD RIDER - - Single Family - has MaelFreddie Mac UNIFORM: INSTRUMENT
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Case 8:19-bk-03732-MGW Doc 7-2 Filed 05/10/19 Page 18 of 19

Bk 19453 Pg 969

B. Property Insurance. So long as the Owners Association maintains, with a generally
accepled insurance carrier, a "master" or "blanket" policy insuring the Property which is
satisfactory to’ Lender and which provides insurance coverage in the amounts (including
deductible levels), for the periods, and against loss by fire, hazards included within the term
“extended coverage," and any other hazards, Including, but not fimited to, earthquakes and
* floods, for which Lender requires insurance, ther: (i) Lender-walves.the provision in Section 3
for the Periodic Payment to Lender of the yearly premium installments for property insurance
on the Property; and (il) Borrower's obligation under Section 5-to maintain property Insurance
coverage on tha Property is deemed satisfied to the extent that the required coverage is
provided by (the Owners Association policy.
“What Lender requires as @ condition of this walver can change during the term of the
loan, ; i '
' Borrower shall give Lender prompt notice of any lapse in ragiied Property insurance
coverage provided by the'master or blanket policy.

In the event of a distribution of property insurance proceeds in liev of restoration or
repair following a loss to the Property, or to common areas and facilities of the PUD, any
proceeds payable to Borrower are hereby assigned and shall be paid: to Lender. Lender shall
apply the proceeds to the sums secured by the Security Instrument, whether or not then due,
with the excess, if any, paid to Borrower.

.  G, Public ability Insurance. Borrower shall take such actions as a be reasonable to
insure that the Owners Association maintains a public liability Inaurance policy acceptable In
form, amount, and extent of coverage to Lender. -

D. Condemnation, The proceeds. of any, award or claim for damages, diréct or
consequential, payable to Borrower In. connection with. any condemnation or other taking of all
or any part of the Property or the common areas ‘and facilities of the PUD, or for any
conveyance In leu of condemnatian, are hereby. assigned and shall be pald to Lender. .Such
proceeda shall be applied by Lender to the suma secured ‘by the Secyrity Instrument as
- provided In Section .11.

E. Lender's Prior Consent. Borrower shall not, except after notice to Lender and with
Lender's prior'written consent, either partition or subdivide the Property or consent to: (i) the
abandonment or termination’ of thé PUD, ‘except for abandonment or termination required by
law in the case of substantial destruction by fire or other casualty or in the case of a taking
by condemnation gf eminent domain; (il) any amendment to any provision of the "Constituent
Documents" if the provision is for the express benefit of Lender; (ili) termination of
professional management and assumption of seif-management of the.Ownera Association; or
(iv) any action which would have the effect of rendering the public liability insurance coverage
maintained by ‘the Owners Aasociation unacceptable to Lender. :

F. Remedies. If Borrower does not pay PUD dues and assessments when due, then
Lender may pay them. Any amounts disbursed by Lender under this paragraph F shall become
additional debt of Borrower secured by the Security Instrument. Uniess Borrower and Lender
agree to olher terms of payment, these amounts shall bear Interest from the date of
disbursement at the Note rate and shall be payable, with Interest, upon notice from Lender to
Borrow er requesting payment: ;

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Case 8:19-bk-03732-MGW . Doc 7-2. Filed 05/10/19 Page 19 of 19

Bk 19453 Pg 970

 

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BY SIGNING BELOW, Borrower actepts and agrees to the terms and covenants contained In
this PUD Rider. . .

lox. Rarkaicte A Sa, A. Borrower -
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ARTURO SANDOVAL-AGUILAR a/k/a ARTURO AGUILAR-SANDOVAL
BY BETZAIDA A, LUGO SERRANO, HIS ATTORNEY IN FACT

 

 

 

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MULTISTATE PUD RIDER - Single Family - Fannie Mae/Freddle Mac UNIFORM INSTRUMENT
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